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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:22-CR-00140 WBS
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           AND ORDER
14   LUIS ALFONSO VELARDE-LOPEZ,                         DATE: March 27, 2023
     ARIVI LOPEZ-GAMEZ, AND                              TIME: 9:00 a.m.
15   FRANCISCO JAVIER GONZALES, JR.                      COURT: Hon. William B. Shubb
                         Defendants.
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18                                               STIPULATION
19         1.       By previous order, this matter was set for status on March 27, 2023.
20         2.       By this stipulation, defendants now move to continue the status conference until June 26,
21 2023 at 9:00 a.m., and to exclude time between March 27, 2023, and June 26, 2023, under Local Code

22 T4.

23         3.       The parties agree and stipulate, and request that the Court find the following:
24                  a)     The government has represented that the discovery associated with this case
25         includes approximately two-hundred-fifty pages of investigative reports, video recordings, and
26         forensic images of five telephones consisting of over 5GB of data. All of this discovery has been
27         either produced directly to counsel and/or made available for inspection and copying.
28                  b)     Counsel for defendants desire additional time to review the discovery materials

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30    PERIODS UNDER SPEEDY TRIAL ACT
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 1        and charges, conduct investigation and research related to the charges, to review and copy the

 2        discovery already tendered, to assess the viability of any pretrial motions, and discuss potential

 3        resolutions with their clients.

 4                c)      Counsel for defendants believe that failure to grant the above-requested

 5        continuance would deny them the reasonable time necessary for effective preparation, taking into

 6        account the exercise of due diligence.

 7                d)      The government does not object to the continuance.

 8                e)      Based on the above-stated findings, the ends of justice served by continuing the

 9        case as requested outweigh the interest of the public and the defendant in a trial within the

10        original date prescribed by the Speedy Trial Act.

11                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12        et seq., within which trial must commence, the time period of March 27, 2023 to June 26, 2023,

13        inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

14        because it results from a continuance granted by the Court at defendant’s request on the basis of

15        the Court’s finding that the ends of justice served by taking such action outweigh the best interest

16        of the public and the defendant in a speedy trial.

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     STIPULATION REGARDING EXCLUDABLE TIME              2
30   PERIODS UNDER SPEEDY TRIAL ACT
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 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

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 6
     Dated: March 20, 2023                                     PHILLIP A. TALBERT
 7                                                             United States Attorney
 8
                                                               /s/ ROBERT C. ABENDROTH
 9                                                             ROBERT C. ABENDROTH
                                                               Assistant United States Attorney
10

11
     Dated: March 20, 2023                                     /s/ MEGHAN McLOUGHLIN
12                                                             MEGHAN McLOUGHLIN
                                                               Counsel for Defendant
13                                                             LUIS ALFONSO VELARDE-LOPEZ
14
     Dated: March 20, 2023                                     /s/ KYLE KNAPP
15                                                             KYLE KNAPP
                                                               Counsel for Defendant
16                                                             ARIVI LOPEZ-GAMEZ
17
     Dated: March 20, 2023                                     /s/ MARK JOSEPH REICHEL
18                                                             MARK JOSEPH REICHEL
                                                               Counsel for Defendant
19                                                             FRANCISCO JAVIER GONZALES, Jr.
20
21                                                     ORDER
22          IT IS SO FOUND AND ORDERED .
23
     Dated: March 21, 2023
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      STIPULATION REGARDING EXCLUDABLE TIME                3
30    PERIODS UNDER SPEEDY TRIAL ACT
